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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

                               Petitioner,

 v.                                                                 MBD No. 23-91513

 DAVID DELGIZZI AS PRESIDENT OF ADG,
 INC.

                               Respondent.


                           UNITED STATES’ STATUS REPORT

       The United States submits this status report in response to the Court’s January 31, 2024,

Order, Dkt. No. 13, which states that by February 15, 2024, the respondent, Mr. David Delgizzi,

must produce the documents requested as detailed in the Internal Revenue Service (“IRS”)

Summons issued on January 24, 2023, by IRS Revenue Officer Russell Silverstein.

       Since the January 31, 2024, Show Cause Hearing, the government has communicated

with Mr. Delgizzi regarding the Court’s Order and requested that he provide the requested

documents to RO Silverstein. On February 13, 2024, the government notified Mr. Delgizzi via

the email that he should send the requested documents to RO Silverstein’s address. On February

15, 2024, Mr. Delgizzi notified the government that he had sent the documents to RO Silverstein

via overnight mail. On February 20, 2024, RO Silverstein confirmed receipt of the documents,

Mr. Delgizzi had shipped via mail, which contained only Mr. Delgizzi’s bank statements.

        The documents the respondent shipped on February 13, 2024, are insufficient. The IRS

Summons requested:

                “All documents and records you possess or control regarding assets,
       liabilities, or accounts held in the taxpayer’s name or for the taxpayer’s benefit
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       which the taxpayer wholly or partially owns, or in which the taxpayer has a
       security interest. These records and documents include but are not limited to: all
       bank statements, checkbooks, canceled checks, saving account passbooks, records
       or certificates of deposit for the period: From 01/01/2022 To 12/31/2022. Also
       include all current vehicle registration certificates, deeds or contracts regarding
       real property, stocks and bonds, accounts, stored value cards, online and mobile
       accounts, virtual currency, notes and judgments receivable, and all life or health
       insurance policies.”


To date, Mr. Delgizzi has only produced a few bank statements. RO Silverstein notified Mr.

Delgizzi that he had not produced all the documents requested in the IRS Summons, including

Collection Information Statements for Mr. Delgizzi’s business or for Mr. Delgizzi as the

business owner, the forms are also known as Form 433A or 433B. Mr. Delgizzi was also

informed that he needs to provide other documents related to his business including inventory

items. RO Silverstein explained that without such information the IRS is unable to make a

collection determination. Mr. Delgizzi states that he intends to comply with the IRS Summons

and will search his records for the information requested, although he does not believe that he

has any additional records in his possession. RO Silverstein has asked Mr. Delgizzi to provide

the additional documents by Tuesday, February 27, 2024.

       The government is not asking the Court to take any action at this time. Based on RO

Silverstein’s investigation, the government believes that Mr. Delgizzi has additional documents

that are responsive to the IRS Summons, therefore if Mr. Delgizzi fails to provide additional

documents, the government request that pursuant to the Court’s Order, Dkt. No. 13, that this

Court “recommend that Judge Saris issue an order granting the governments petition and

directing that Mr. Delgizzi obey the summons, upon pain of a finding of contempt of court.”




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                                             Respectfully submitted,

                                             JOSHUA S. LEVY
                                             Acting United States Attorney

                                             /s/ Julien M. Mundele
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Dated: February 22, 2024



                               CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of the foregoing by emailing and mailing copy
of the same in the United States certified mail addressed as follows:

                                        David Delgizzi
                                      3 Bittersweet Lane
                                      Weston, MA 02493
                                     delgizzi@comcast.net




                                                   /s/ Julien M. Mundele
                                                   Julien M. Mundele
                                                   Assistant United States Attorney


Dated: February 22, 2024




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